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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


LEGEND PICTURES, LLC,
                                                    CASE NO.: 1:24-CV-07233
        PLAINTIFF,

V.
                                                    JUDGE JOHN J. THARP, JR.
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,
                                                    MAGISTRATE JUDGE JEFFREY T. GILBERT
        DEFENDANTS.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, with prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:



          NO.                                DEFENDANT
          301                               seecosplay.com
          306                                 cossky.com
          222                       Halloween Cosplay Winter_store
          197                                 baiwan-63
          234                                 laocuistore
          235                                  lingyang8
          236                                 lvlindis888
          239                               mohomgcmgll5
          207                                 crysta3655
          251                                   rrj-5299
          271                                    youy_1
          272                                 zheng-8291
          273                                  zhengz-30
          310                            magicwardrobes.com
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 Dated:   November 18, 2024        Respectfully submitted,
                                   /s/ Alison K. Carter
                                   Ann Marie Sullivan
                                   Alison K. Carter
                                   SULLIVAN & CARTER, LLP
                                   111 W. Jackson Blvd, Ste 1700
                                   Chicago, Illinois 60604
                                   Telephone: 929-724-7529
                                   E-mail: a.carter@scip.law
                                   ATTORNEYS FOR PLAINTIFF
